Case 2:04-cr-20238-BBD Document 43 Filed 07/08/05 Page 1 of 2 __ PagelD 39

lN THE uNiTED sTATEs DlsTRlcT couRT m M:... D-G~
FoR THE wEsTERN DlsTRlcT oF TENNESSEE

 

wEsTERN olvlsloN 05 JUL -8 Ptl l»= l2
` dwth gill
uNlTED sTATEs oF AMERch clark OF_H_, MM
Plaintiff
Vs.
cR. No. 04-20238-0
LoRENzo cALDERoN
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYlNG PER|OD OF EXCLUDABLE DELAV
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date and requested a Change
of P|ea hearing date.

The Court granted the request and reset the trial date to August 1, 2005 with a
Change of P|ea hearing date of Tuesday, Ju|y19, 2005l at 1:15 p.m.. in Courtroom 3.
9th Floor of the Federa| Buildingl Memphis, TN.

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this 67 day Of Ju|y, 2005.

  

  

RN|CE B. DO LD
NlTED STATES D|STR|CT JUDGE

t rlch lianca
"='h.`is document entered on the docket Shee l cf p

t q 4 ..-
with l-tule .,:f an i_lor 32{%:); FHbrP on

 

   

UNITED sATE DSTIIC COURT - WETER DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:04-CR-20238 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

